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VAUGHN INDEX
Prison Legal News v. Harley G. Lappin, Director, Federal Bureau of Prisons
CIVIL ACTION NO. 05-1812



 Document Category      Information             Exemptions Used        Rationale
                        Redacted
 Tort Claim Form SF-    All Personal Names,     (b)(6) & (b)(7)(C)     Exemption (b)(6) and
 95                     All Personal                                   (b)(7)(C) were
                        Addresses, All                                 applied to protect the
                        Personal Telephone                             names of individuals
                        Numbers, and All                               who filed a tort claim
                        Personal Social                                and the names of
                        Security Numbers.                              BOP staff who filed a
                                                                       tort claim. Exemption
                                                                       (b)(6) and (b)(7)(C)
                                                                       were applied to
                                                                       protect the personal
                                                                       addresses of
                                                                       individuals who filed
                                                                       a tort claim and the
                                                                       personal addresses of
                                                                       BOP staff who filed a
                                                                       tort claim.
                                                                       Exemption (b)(6) and
                                                                       (b)(7)(C) were
                                                                       applied to protect the
                                                                       personal telephone
                                                                       numbers of
                                                                       individuals and BOP
                                                                       staff who have filed a
                                                                       tort claim.
                                                                       Exemption (b)(6)
                                                                       was applied to
                                                                       protect the social
                                                                       security numbers of
                                                                       individuals and BOP
                                                                       staff who have filed a
                                                                       tort claim. The
                                                                       disclosure of
                                                                       Personal Names,
                                                                       Personal Addresses,
                                                                       Personal Telephone
                                                                       Numbers, and
                                                                       Personal Social
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                                                                Security Numbers
                                                                would constitute an
                                                                unwarranted invasion
                                                                of personal privacy.


Tort Claim           All Personal Names,   (b)(6) & (b)(7)(C)   Exemption (b)(6) and
Judgements           All Personal                               (b)(7)(C) were
                     Addresses, and All                         applied to protect the
                     Personal Social                            names of individuals
                     Security Numbers                           who filed a tort claim
                                                                and the names of
                                                                BOP staff who filed a
                                                                tort claim. Exemption
                                                                (b)(6) and (b)(7)(C)
                                                                were applied to
                                                                protect the personal
                                                                addresses of
                                                                individuals who filed
                                                                a tort claim and the
                                                                personal addresses of
                                                                BOP staff who filed a
                                                                tort claim.
                                                                Exemption (b)(6)
                                                                was applied to
                                                                protect the social
                                                                security numbers of
                                                                individuals and BOP
                                                                staff who have filed a
                                                                tort claim. The
                                                                disclosure of
                                                                Personal Names,
                                                                Personal Addresses,
                                                                and Personal Social
                                                                Security Numbers
                                                                would constitute an
                                                                unwarranted invasion
                                                                of personal privacy.


Tort Claim Voucher   All Personal Names,   (b)(6) & (b)(7)(C)   Exemption (b)(6) and
for Payment          All Personal                               (b)(7)(C) were
                     Addresses, All                             applied to protect the
                     Personal Social                            names of individuals
                     Security Numbers,                          and BOP staff who
                     and All Personal                           received financial
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                      Banking Information                        settlements for tort
                                                                 claims they filed.
                                                                 Exemption (b)(6) and
                                                                 (b)(7)(C) were
                                                                 applied to protect the
                                                                 personal addresses of
                                                                 individuals and BOP
                                                                 staff who received
                                                                 financial settlements
                                                                 for tort claims they
                                                                 filed. Exemption
                                                                 (b)(6) and (b)(7(C)
                                                                 were applied to
                                                                 protect the social
                                                                 security numbers of
                                                                 individual claimants
                                                                 and BOP staff who
                                                                 received financial
                                                                 settlements for tort
                                                                 claims they filed
                                                                 Exemption (b)(6) and
                                                                 (b)(7)(C) were
                                                                 applied to protect the
                                                                 personal banking
                                                                 information of
                                                                 individual claimants
                                                                 and BOP staff who
                                                                 received financial
                                                                 settlements for tort
                                                                 claims they filed. The
                                                                 disclosure of
                                                                 Personal Names,
                                                                 Personal Addresses,
                                                                 Personal Social
                                                                 Security Numbers,
                                                                 and Personal
                                                                 Banking Information
                                                                 would constitute an
                                                                 unwarranted invasion
                                                                 of personal privacy.


Litigation District   All Personal Names,   (b)(6) & (b)(7)(C)   Exemption (b)(6) and
Court Complaints      All Personal                               (b)(7)(C) were
                      Addresses, All                             applied to protect All
                      Personal Telephone                         Personal Names of
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                      Numbers.                                  individual plaintiffs
                                                                and BOP staff named
                                                                as defendants in
                                                                litigation. Exemption
                                                                (b)(6) and (b)(7)(C)
                                                                were applied to
                                                                protect All Personal
                                                                Addresses of
                                                                individual plaintiffs
                                                                and BOP staff named
                                                                as defendants in
                                                                litigation.
                                                                Exemption (b)(6) and
                                                                (b)(7)(C) were
                                                                applied to protect All
                                                                Personal Telephone
                                                                Numbers of
                                                                individual plaintiffs
                                                                and BOP staff named
                                                                as defendants in
                                                                litigation. The
                                                                disclosure of
                                                                Personal Names,
                                                                Personal Addresses,
                                                                and Personal
                                                                Telephone Numbers
                                                                would constitute an
                                                                unwarranted invasion
                                                                of personal privacy.
Litigation District   All Personal Names   (b)(6) & (b)(7)(C)   Exemption (b)(6) and
Court Settlement                                                (b)(7)(C) were
Agreements and/or                                               applied to protect the
Settlement                                                      names of individuals
Stipulations                                                    and BOP staff who
                                                                received financial
                                                                settlements for
                                                                claims filed in
                                                                District Court. The
                                                                disclosure of
                                                                personal names in
                                                                this information
                                                                would constitute an
                                                                unwarranted invasion
                                                                of personal privacy.
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Complaint of           All Personal Names,   (b)(6), (b)(7)(C) &   Exemption (b)(6) and
Discrimination, Form   All Personal          (b)(2)Low             (b)(7)(C) were
DOJ 201                Addresses, All                              applied to protect All
                       Personal Telephone                          Personal Names of
                       Numbers, and All                            individual
                       Personal Social                             complainants who
                       Security Numbers,                           filed complaints of
                       and EEOC                                    discrimination
                       file/Agency file                            against the BOP.
                       numbers.                                    Exemption (b)(6) and
                                                                   (b)(7)(C) were
                                                                   applied to protect All
                                                                   Personal Addresses
                                                                   of individual
                                                                   complainants who
                                                                   filed complaints of
                                                                   discrimination
                                                                   against the BOP.
                                                                   Exemption
                                                                   (b)(2)Low, (b)(6) and
                                                                   (b)(7)(C) were
                                                                   applied to protect All
                                                                   Personal Telephone
                                                                   Numbers of
                                                                   individual
                                                                   complainants who
                                                                   filed complaints of
                                                                   discrimination
                                                                   against the BOP.
                                                                   Exemption
                                                                   (b)(2)Low was
                                                                   applied to the EEOC
                                                                   file number and
                                                                   agency file number
                                                                   of complaints filed
                                                                   against the BOP. The
                                                                   disclosure personal
                                                                   names, addresses,
                                                                   telephone numbers,
                                                                   social security
                                                                   numbers and EEOC
                                                                   file numbers would
                                                                   constitute an
                                                                   unwarranted invasion
                                                                   of personal privacy
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                                                                    and would disclose
                                                                    records relating
                                                                    solely to the internal
                                                                    personnel rules and
                                                                    practices of an
                                                                    agency.
Equal Employment        All Personal Names,   (b)(6), (b)(7)(C) &   Exemption (b)(6) and
Opportunity             All Personal          (b)(2)Low             (b)(7)(C) were
Commission-             Addresses, and                              applied to protect All
Settlement              EEOC file/Agency                            Personal Names of
Agreements, Order of    file numbers.                               individual
Dismissal, Settlement                                               complainants who
or Compromise                                                       filed complaints of
Agreement, Notice of                                                discrimination
Settlement, Agency                                                  against the BOP and
Offer of Resolution,                                                received a settlement.
and/or Stipulation of                                                Exemption (b)(6)
Dismissmal                                                          and (b)(7)(C) were
                                                                    applied to protect All
                                                                    Personal Addresses
                                                                    of individual
                                                                    complainants who
                                                                    filed complaints of
                                                                    discrimination
                                                                    against the BOP and
                                                                    received a settlement.
                                                                    Exemption
                                                                    (b)(2)Low was
                                                                    applied to the EEOC
                                                                    file number and
                                                                    agency file number
                                                                    of complaints filed
                                                                    against the BOP
                                                                    where a settlement
                                                                    was entered. The
                                                                    disclosure of
                                                                    personal names,
                                                                    personal addresses,
                                                                    and EEOC file
                                                                    numbers would
                                                                    constitute an
                                                                    unwanted invasion of
                                                                    personal privacy and
                                                                    would disclose
                                                                    records relating
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                                                               solely to the internal
                                                               personnel rules and
                                                               practices of an
                                                               agency.
Merit Systems       All Personal Names,   b)(6), (b)(7)(C) &   Exemption (b)(6) and
Protection Board-   All Personal          (b)(2)Low            (b)(7)(C) were
Settlement          Addresses, and                             applied to protect All
Agreements          EEOC file/Agency                           Personal Names of
                    file numbers.                              individual
                                                               complainants who
                                                               filed complaints of
                                                               discrimination
                                                               against the BOP and
                                                               received a settlement.
                                                                Exemption (b)(6)
                                                               and (b)(7)(C) were
                                                               applied to protect All
                                                               Personal Addresses
                                                               of individual
                                                               complainants who
                                                               filed complaints of
                                                               discrimination
                                                               against the BOP and
                                                               received a settlement.
                                                               Exemption
                                                               (b)(2)Low was
                                                               applied to the EEOC
                                                               file number and
                                                               agency file number
                                                               of complaints filed
                                                               against the BOP
                                                               where a settlement
                                                               was entered. The
                                                               disclosure of
                                                               personal names,
                                                               personal addresses,
                                                               and EEOC file
                                                               numbers would
                                                               constitute an
                                                               unwanted invasion of
                                                               personal privacy and
                                                               would disclose
                                                               records relating
                                                               solely to the internal
                                                               personnel rules and
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                                                        practices of an
                                                        agency.
Labor Management     All Social Security   (b)(6)       Exemption (b)(6)
Relations-Merit      Numbers and All                    was applied to
Systems Protection   Personal                           protect the social
Board-Appeal Form    Psychiatric/Medical                security numbers of
                     information                        individuals who filed
                                                        a labor grievance
                                                        against the BOP.
                                                        Exemption (b)(6)
                                                        was applied to
                                                        protect the personal
                                                        psychiatric and
                                                        medical records of
                                                        individuals who filed
                                                        a labor grievance
                                                        against the BOP.
                                                        The disclosure of
                                                        social security
                                                        numbers, and
                                                        psychiatric and
                                                        medical information
                                                        would constitute an
                                                        unwarranted invasion
                                                        of personal privacy.
Labor Law-           All Social Security   (b)(6)       Exemption (b)(6)
Settlements          Numbers                            was applied to
Agreements                                              protect the social
                                                        security numbers of
                                                        individuals who have
                                                        filed a grievance
                                                        against the BOP. The
                                                        disclosure of social
                                                        security numbers
                                                        would constitute an
                                                        unwarranted invasion
                                                        of personal privacy.
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Labor Law-              All Social Security   (b)(6)     Exemption (b)(6)
Judgements              Numbers                          was applied to
                                                         protect the social
                                                         security numbers of
                                                         individuals who have
                                                         filed a grievance
                                                         against the BOP. The
                                                         disclosure of social
                                                         security numbers
                                                         would constitute an
                                                         unwarranted invasion
                                                         of personal privacy.
Labor Law-              All Social Security   (b)(6)     Exemption (b)(6)
Judgements - Joint      Numbers                          was applied to
Stipulation for Entry                                    protect the social
of Final Judgment                                        security numbers of
                                                         individuals who have
                                                         filed a grievance
                                                         against the BOP. The
                                                         disclosure of social
                                                         security numbers
                                                         would constitute an
                                                         unwarranted invasion
                                                         of personal privacy.
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General                All Personal Names,   (b)(6), (b)(7)(C) &   Exemption (b)(6) and
Correspondence-        All Personal          (b)(2)Low             (b)(7)(C) were
Emails, Facsimile      Addresses, All                              applied to protect All
Cover Sheet, Letters   Personal Telephone                          Personal Names of
                       Numbers, and All                            individuals.
                       Personal Social                             Exemption (b)(6) and
                       Security Numbers,                           (b)(7)(C) were
                                                                   applied to protect All
                                                                   Personal Addresses
                                                                   of individuals.
                                                                   Exemption
                                                                   (b)(2)Low, (b)(6) and
                                                                   (b)(7)(C) were
                                                                   applied to protect All
                                                                   Personal Telephone
                                                                   Numbers of
                                                                   individuals. The
                                                                   disclosure of names,
                                                                   addresses, telephone
                                                                   numbers, and social
                                                                   security numbers
                                                                   would constitute an
                                                                   unwarranted invasion
                                                                   of personal privacy
                                                                   and would disclose
                                                                   records relating
                                                                   solely to the internal
                                                                   personnel rules and
                                                                   practices of an
                                                                   agency.
